DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

In re Glass Tempering System Patent Litigation _

 

 

 

 

 

84/05/11 . 1 | MOTION, BRIEF, SCHEDULE, CERTIFICATE OF SERVICE -- Glasstech,
Inc. -- SUGGESTED TRANSFEREE DISTRICT: E.D. MICHIGAN,

SUGGESTED TRANSFEREE JUDGE: ? (cds)
84/05/21 APPEARANCE: RONALD L. GRUDZIECKI, ESQ. for San Jacinto Glass

Co., Three Rivers Aluminum Co., William A. Swinney, Inc.,
Colonial Mirror & Glass Corp., Shaw Glass Co., Inc.,
Howe-Martz Glass Co. (cds)

84/05/24 » APPEARANCE: THOMAS H. YOUNG, ESQ. for General Glass Corp. (cds)

84/05/25 | 2 RESPONSE -- General Glass Corp. -- w/cert. of service (cds)

84/05/29 3 RESPONSE -- Howe-Martz, Colonial Mirror & Glass, Three rivers
Aluminum, San Jacinto Glass Co., Shaw Glass Co. and William
A. Swinney, Inc. -- w/cert. of service (cds)

84/06/08; “4° | MOTION FOR LEAVE TO FILE REPLY -- Glasstech, Ine. -- GRANTED

(emh)

84/0608 REPLY -- Glasstech, Inc. -- w/cert. of sve. (emh)

84/06/25 . , HEARING ORDER -- Setting motion to transfer A-1 thru A-7 for
Panel hearing in Boston, Massachusetts on July 26, 1984 (emh)

84/07/24 HEARING APPEARANCES: ERNIE L. BROOKS, ESQ. for Glasstech, Inc.
RONALD L. GRUDZIECKI, ESQ. for San Jacinto Glass Company, TRACO
(rh)

B4/09/25 ° NOTICE OF RELATED ACTION -- deft. Glasstech v. AB KYRO OY, E.
Mich., C.A. No. 84-CV-385iDT w/cert of sve. (rh)

B4/09/25 CONSENT OF TRANSFEREE COURT -- consenting to the assignment
of litigation to the Honorable Frank J. Battisti for pretrial
proceedings pursuant to 28 U.S.C. §1407.

B4/09/25 TRANSFER ORDER -- Transferring A-1i thru A-7 to the N.D. Ohio
for pretrial proceedings pursuant to 28 U.S.C. §1407.

Notified involved clerks, judges, counsel and misc.
recipients. (ds)

84/10/11 CONDITIONAL TRANSFER ORDER FILED TODAY -- (B-8) Giasstech,
‘Inc. v. AB Kyro Oy, E.D. Mich., #84CV385iDT -- NOTIFIED
INVOLVED JUDGES AND COUNSEL (cds)

S4/10/12 MEMORANDUM (Re: Reassignment of litigation to Toledo division
in N.D. Ohio) -- Pltf. Glasstech, Inc. ~- w/cert. of svc.
(emh )

 

 

 
In re Glass Tempering System Patent Litigation

84/10/22 8 NOTICE OF OPPOSITION -- B-8 Glasstech, Inc. v. AB Kyro Oy,
E.D. Michigan, C.A. No. 84CV-3851DT filed by pltf. Glasstech
w/eert. of sve. (rh)

84/11/06 MOTION/BRIEF TO VACATE CTO == B-8 Giasstech, Inc. v. AB Kyro
Oy, &.D. Mich., C.A. No. 84-CV-3851 DT ~- filed by pitf.
Giasstech, Ine. w/cert. of sve. (ds)

84/11/13 10 ORDER (from N.D. Ohio) reassigning MDL-601 (cds)

84/11/13 ORDER REASSIGNING LITIGATION to the Honorable Nicholas J.
Walinski -- NOTIFIED INVOLVED JUDGES, CLERK AND COUNSEL

(cds)

B4/11/19 © 11 BRIEF (re: pldg. #9) -- Howe-Martz, Colonial Mirror & Glass,
Three Rivers Aluminum, San Jacinto Glass Co., Shaw Glass Co.,
William A. Swinney, Inc. and AB Kyro Oy w/cert. of svc. (ds)

84/12/14 HEARING ORDER -- Setting motion for transfer of B-8 for Panel
Hearing in New Orleans, Louisiana on January 24, 1985 (rh)

85/01/08 l2 SUPPLEMENTAL BRIEF ON MOTION TO VACATE CTO -- pltf.
Glasstech, Ine. -- w/cert. of sve. (rh)

85/01/22 HEARING APPEARANCES: ERNIE L. BROOKS, ESQ. for Glasstech, Inc.;
RONALD L. GRUDZIECKI, ESQ. for AB Kyro OY (cds)

85/01/22 WAIVER OF ORAL ARGUMENT: General Glass Corp. (cds)

85/01/30 TRANSFER ORDER -- B-8 Glasstech, Inc. v. AB Kyro Oy, E.D.
Michigan, C.A. No. 84 CV 3851 DT pursuant to 28 U.S.C. §1407
-- NOTIFIED involved counsel, clerks and judges. (emh)

85/03/07 13 NOTICE OF RELATED ACTION -- Glasstech, Inc. v. Tempered Glass
Products, E.D. California, C.A. No. CIVS-85-0233-LKK -- filed
by defts. AB Kyro Oy, Howe-Martz, Colonial Mirror & Glass,
Three Rivers Aluminum, San Jacinto Glass Co., Shaw Glass Co.,
Inc. and William A. Swinney w/cert. of sve. (ds)

85/03/07 14 NOTICE OF RELATED ACTION -- Glasstech, Inc. v. Delta Fab,
N.D. Ohio, C.A. No. C-85-525 -- filed by defts. AB Kyro Oy,
Howe-Martz, Colonial Mirrow & Glass, Three Rivers Aliuminun,
San Jacinto Glass Co., Shaw Glass Co., Ince. and Wilitam A.
Swinney w/cert. of sve. (ds)

 
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,601 -- In re Glass Tempering System Patent Litigation

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85/04/18, - CONDITIONAL TRANSFER ORDER FILED TODAY -- B-9 Glasstech, Inc.
- ve Tempered Glass Products, E.D. California, C.A. No.
CIVS-85-0233-LKK. Notified involved counsel and judge. (rh)

85/05/06 | CONDITIONAL TRANSFER ORDER FINAL TODAY -- B-9 Glasstech, Inc.
i ' ve Tempered Glass Products, E.D. California, C.A. No.
_ CIVS-85-0233-LKK -- Notified involved judge and clerk (rh)

85/06/05 . - CORRECTION ORDER -- correcting (CTO - B-9 filed on 4/18/85
- and finalized on 5/6/85) -- incorrectly referenced Judge
Battisit as the transferee judge -- CORRECTED to reflect that

Judge Walinski is the transferee judge in this litigation.
Notified involved counsel, clerks and judges. (ds)

 
JPML Form 1
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Revised: 8/78 .
DOCKET NO. 601 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: IN RE GLASS TEMPERING SYSTEM PATENT LITIGATION

 

 

 

SUMMARY OF LITIGATION
Hearing Dates Orders Transferee

7/26/84

 

Dates Filed Type Citation District Name of Judge Assigned From

9/25/84 TO Unpublished N.D.Ohio FPrank~d<+-Battistt
11/13/84 Reassigned Nicholas J. Walinski

 

 

 

 

Toledo Clerk's Office

Special Transferee Information

DATE CLOSED:

 
JPML FORM 1 re LISTING OF INVOLVED ACTIONS Hon. Nicholas J. Walinski

N.D. Ohio
DOCKET NO. 601 -- In re Glass Tempering System Patent Litigation

 

Ttra- District; Civil Transferedpate of

Office :
Number Canti and Action Transfer} Docket [Dismissal
aption Judge Number Date Number jor Remand

. Glastech, Inc. v. Howe-Martz E.D.Mich |84CV1740DIr 9/25/84 |C84-7909 % Lie
Pratt

 

vst

Glastech, Inc. v. Colonial Mirror & Glass /|E.D.N.Y. 84-1804 9/25/84  |C84-7910
McLaugh1liy

Glasstech, Inc. v. Three Rivers Aluminum W.D.Pa. 84-1022 9/25/84 }C84-7911
Rosenberg

Glastech, Inc. v. San Jacinto Glass Co. S.D.Tex. | H-84-1969 9/25/84 |C84-7912
Black

Glasstech, Inc. v. Shaw Glass Co., Inc. D.Mass CV84-1329-G |9/25/84 |C84-7913
Garrity

Glasstech, Inc. v. General Glass Corp. D.Colo C84-K-889 9/25/84 |C84-7914 ~~ t
Kane

Glasstech, Inc. v. William A. Swinney, Inc.) W.D.Tex SA-84-CA-0883] 9/25/84 |C84-7915
Garcia —

Glasstech, Inc. v. A.B.Kyro Oy m.p.Mich | s4cv3e5ipr | 1/30/85 |cad-7388e- ft oS
CTO filed 10/11/84 DeMascio
Opposed 10/22/84

Glasstech, Inc. v. Tempered Glass Products | E.D.Cal Civ-S-85- 5/6/85 BS-FS IY
CTO filed 4/18/85 Karlton | 0233-LKK

Glasstech, Inc. v. Delta Fab N.D.Ohio | 85-7396
Walinski

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JPML Form 4

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

 

 

 

 

 

DOCKET NO. 601 --~ In re Glass Tempering System Patent Litigation
GLASSTECH, INC. pts ®
Ernie L. Brooks, Esquire ~~
Brooks & Kushman 94-4
3000 Town Center
Suite 2121

2 egret

Southfield, Michigan 48075

AB KYRO OY
HOWE-MARTZ

COLONIAL MIRROR & GLASS
THREE RIVERS ALUMINUM
SAN JACINTO GLASS CO. ;
SHAW GLASS CO, , TNC

WILLIAM A. SWINNEY

Ronald L. Grudziecki, Esquire
Burns, Doane, Swecker & Mathias
P.O. Box 1404

Alexandria, Va. 22313-/404

 

GENERAL GLASS CORP.

Thomas H. Young, Esq.
Charles Goldberg, Esq.
Rothgerber, Appel & Powers
Twenty-fourth Floor

1600 Broadway

Denver, Colorado 80202

TEMPERED GLASS PRODUCTS (Deft. in |
B-9)

Ronald L. Grudziecki, Esq.

(Same as Ab Kyro Oy)

 

 

 
 

 

JPML FORM 3

  

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 601 -- In re Glass Tempering System Patent Litigation
Name of Par Named as Par in Following Actions

Howe-Martz

Colonial Mirror &
Glass

Three Rivers Aluminum

San Jacinto Glass Co.

Shaw Glass Co., Inc.

General Glass Corp.

William A. Swinney

 
